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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                       Plaintiff,               )                    4:11CR3101
                                                )
               v.                               )
                                                )
JEANNA RENEE SPRINGER,                          )         MEMORANDUM AND ORDER
                                                )
                       Defendants.              )

       Defendant Springer has not filed a post-hearing brief in support of her motion to suppress,
(filing no. 32), and the court-imposed deadline for doing so has passed. Moreover, the parties have
not further clarified what evidence should be considered. (see filing no. 62).

       Accordingly,

        IT IS ORDERED that counsel for the government and defendant Springer shall contact my
courtroom deputy, (Jeri Bierbower (402) 437-1905)), to either set a conference call to discuss the
further progression of this case or, if appropriate, a change of plea hearing before the undersigned
magistrate judge .


       DATED this 13th day of February, 2012.

                                               BY THE COURT:

                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
